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                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF LOUISIANA


MCARTHUR GRIFFIN                                 CIVIL ACTION NO: 3:20-cv-00092
                           Plaintiff
                                                 DISTRICT JUDGE:
VERSUS                                           HON. BRIAN A. JACKSON

REC MARINE LOGISTICS, LLC, ET                    MAGISTRATE JUDGE:
AL                                               HON. ERIN WILDER-DOOMES
                      Defendants


                   DEFENDANTS’ PROPOSED VERDICT FORM

 1. Do you find by a preponderance of the evidence that Plaintiff, McArthur Griffin, injured

    his shoulder as a result of an incident onboard the M/V Dustin Danos?

           We, the jury, unanimously find:



           ____________________ YES                    _____________________ NO

 2. Do you find by a preponderance of the evidence that Plaintiff, McArthur Griffin, injured

    his neck as a result of an incident onboard the M/V Dustin Danos?

           We, the jury, unanimously find:



           ____________________ YES                    _____________________ NO

 3. Do you find by a preponderance of the evidence that Plaintiff, McArthur Griffin, injured

    his lower back as a result of an incident onboard the M/V Dustin Danos?

           We, the jury, unanimously find:



           ____________________ YES                    _____________________ NO




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If you answered “YES” to questions 1, 2, or 3, proceed to Question 4.

If you answered “NO” to questions 1, 2, and 3, sign and date this form and return it to the Marshal.



   4. Do you find by a preponderance of the evidence that REC Marine Logistics, LLC was

       negligent AND that such negligence caused, in whole or in part, McArthur Griffin’s alleged

       injury or injuries?

               We, the jury, unanimously find:



               ____________________ YES                     _____________________ NO



   5. Do you find by a preponderance of the evidence that Offshore Transport Services, LLC

       was negligent AND that such negligence caused, in whole or in part, McArthur Griffin’s

       alleged injury or injuries?

               We, the jury, unanimously find:



               ____________________ YES                     _____________________ NO

   6. Do you find by a preponderance of the evidence that the M/V Dustin Danos was

       unseaworthy AND that such unseaworthiness was a proximate cause of McArthur Griffin’s

       alleged injury or injuries?

               We, the jury, unanimously find:



               ____________________ YES                     _____________________ NO




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If you answered “YES” to Questions 4, 5, or 6, proceed to Question 7.

If you answered “NO” to Questions 4, 5, and 6, sign and date this form and return it to the Marshal.



   7. Do you find by a preponderance of the evidence that McArthur Griffin was negligent AND

       that such negligence contributed, in whole or in part, to his alleged injury or injuries?

               We, the jury, unanimously find:



               ____________________ YES                     _____________________ NO

   8. What percentage of negligence or unseaworthiness that caused McArthur Griffin’s alleged

       injuries do you attribute to each party or individual listed below?



               REC Marine Logistics, LLC                  _____________%



               Offshore Transport Services, LLC          ______________%



               McArthur Griffin                          _______________%

(Assign fault only to those parties for whom you answered “YES” in questions 4, 5, 6, or 7

above. The sum of the percentages must equal 100%. The parties are listed in the same order

as above, and the order does not in any way suggest allocation of fault)




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9. If you find that McArthur Griffin sustained any damages as a result of an incident onboard

   the M/V Dustin Danos, without taking into account the percentages of fault assigned in

   question 8, what amount of money would fairly and reasonably compensate McArthur

   Griffin for his injuries that resulted from such an incident?

   Past general damages, including:                   $______________
   physical impairment, disfigurement,
   pain and suffering, mental anguish, and
   loss of enjoyment of life

   Future general damages, including:                 $______________
   physical impairment, disfigurement,
   pain and suffering, mental anguish, and
   loss of enjoyment of life
   Past wage Loss                                     $______________

   Future loss of earning capacity                    $______________

   Past medical expenses                              $______________

   Future medical expenses                            $______________



10. With respect to Plaintiff McArthur Griffin’s alleged injuries, do you find that Plaintiff has

   reached maximum medical cure?

           We, the jury, unanimously find:



           ____________________ YES                      _____________________ NO

11. Do you find that Defendant, REC Marine Logistics, LLC, owes any past or future

   maintenance and cure benefits to the Plaintiff, McArthur Griffin:

           We, the jury, unanimously find:



           ____________________ YES                      _____________________ NO



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If you answered “YES” to Question 11, please state the amount of maintenance and cure benefits

you believe are owed below:

              MAINTENANCE                     $__________________________



              CURE                           $__________________________



Dated this ______day of _________, 2022



____________________________

JURY FOREPERSON



                                                  Respectfully submitted,

                                                  /s/ Kyle A. Khoury
                                                  Salvador J. Pusateri, (#21036)
                                                  Kyle A. Khoury, T.A. (#33216)
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                                                  ATTORNEYS FOR REC MARINE
                                                  LOGISTICS, LLC AND OFFSHORE
                                                  TRANSPORT SERVICES, LLC

                                                  /s/ Alan R. Davis
                                                  Alan R. Davis
                                                  Bar No. 31694
                                                  Lorin R. Scott
                                                  Bar No. 38888



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